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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

SOURCEPROSE CORPORATION            §
                                   §
Plaintiff,                         §
                                   §
vs.                                §
                                   §
AT&T MOBILITY LLC, METROPCS        §                      Case No. 1:11-cv-00117-LY
COMMUNICATIONS, INC., SPRINT       §                      (CONSOLIDATED)
SPECTRUM L.P., T-MOBILE USA, INC., §
CELLCO PARTNERSHIP, d/b/a          §
VERIZON COMMUNICATIONS, INC.       §
and NEXTEL OPERATIONS INC.         §
                                   §
Defendants.                        §


                                 CONSOLIDATED WITH


GOOGLE INC.                                   §
                                              §
Plaintiff,                                    §
                                              §           Case No. 1:11-cv-00637-LY
vs.                                           §
                                              §
SOURCEPROSE CORPORATION                       §
                                              §
Defendant.                                    §


                            JOINT NOTICE OF RESOLUTION

       Pursuant to Local Rule AT-4(g)(2), the parties Plaintiff SourceProse Corporation

(hereinafter “SourceProse”) and Defendants AT&T Mobility LLC (hereinafter “AT&T”), Metro

PCS Communications, Inc. (hereinafter “Metro”), Sprint Spectrum L.P. (hereinafter, “Sprint”),

Nextel Operations Inc. (hereinafter “Nextel”), T-Mobile USA, Inc. (hereinafter “T-Mobile”), and
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Cellco Partnership, d/b/a Verizon Communications, Inc. (hereinafter, “Verizon”), in Consolidated

Case No. Case No. 1:11-cv-00117-LY, as well as Plaintiff Google Inc. (hereinafter “Google”) and

Defendant SourceProse in Case No. 1:11-cv-00637-LY, submit this Joint Notice of Resolution and

hereby notify the Court that the parties have reached an agreement in principle to resolve the

disputes that are the subject of the instant consolidated lawsuits, including the parties’ claims,

defenses and counterclaims.

         The parties expect to file a joint notice of dismissal by July 3, 2015. If a joint notice of

dismissal has not been filed by July 3, 2015, the parties will advise the Court of the status of

resolution.



                                                       /s/ Matthew J.M. Prebeg_______________

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                                CERTIFICATE OF SERVICE

         The undersigned certifies that on June 9, 2015, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document through the

Court's CM/ECF system under Local Rule CV-5(b)(1).


                                                /s/ Matthew J.M. Prebeg
                                                Matthew J.M. Prebeg




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